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17                              UNITED STATES DISTRICT COURT
18                           SOUTHERN DISTRICT OF CALIFORNIA
19
20 MS. L, et al.,                               Case No. 18cv428 DMS MDD
21                  Petitioners-Plaintiffs,
                                                NOTICE OF DNA RESULTS
22         vs.                                  (per Mar. 8, 2018 Order)
23 U.S. IMMIGRATION AND CUSTOMS
   ENFORCEMENT, et al.,
24
               Respondents-Defendants.
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 1          Pursuant to this Court’s March 8, 2018 Order [ECF Doc. 31], the undersigned reports
 2 that the DNA testing of Ms. L and S.S. was completed today, and the results show
 3 99.99999% probability of maternity. Accordingly, maternity has been established to the
 4 satisfaction of the Office of Refugee Resettlement.
 5          DATED: March 12, 2018                Respectfully submitted,
 6
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 7                                               United States Attorney
 8                                               s/ Samuel W. Bettwy
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       Notice of DNA Results                     1                         18cv428 DMS MDD
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